
ORDER
Considering the Petition for Consent Discipline filed by respondent, Gary W. *1294Sheffield, and the concurrence therein filed by the Office of Disciplinary Counsel,
IT IS HEREBY ORDERED that the Petition for Consent Discipline be rejected pursuant to Supreme Court Rule XIX, § 20.
IT IS FURTHER ORDERED that this matter be remanded for the institution of formal charges. Upon remand, the hearing committee and disciplinary board may consider recommendation of the sanction of permanent disbarment, if appropriate, pursuant to Supreme Court Rule XIX, §§ 10(a) and 24, as amended effective August 1, 2001.
/s/ Catherine D. Kimball
Justice, Supreme Court of Louisiana
